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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

 Alice G. Svege, Administratrix, Et Al
                                                                04-MC-207-KHV
                    Plaintiff

 v.                                              Case Number: 3:01CV01771
                                                              District of Connecticut
 Mercedes-Benz Credit Corp., Et Al,
                   Defendant



                                         Motion to Quash

       Comes now Pittsburg State University (PSU), a non-party recipient of a Subpoena in the

above captioned matter, by and through counsel, Darron C. Farha, to move this court to quash the

subpoena issued by the Plaintiff for the production of the student records of John C. Glennon on

March 24, 2004. In support for this motion, PSU states the following:


1.     PSU is an educational agency or institution to which 20 USC 1232g, commonly known as

       the Family Educational Rights and Privacy Act (FERPA), applies.

2.     FERPA prohibits the dissemination of a student’s records absent their consent.

3.     John C. Glennon has specifically objected to the dissemination of his student records to

       the Plaintiff. Such objection is evidenced by a facsimile from him to PSU dated March

       30, 2004 and attached hereto as exhibit A and incorporated herein by reference.

4.     FERPA allows PSU to disclose a student’s student record pursuant to a lawfully issued

       subpoena but does not require PSU to disclose such records.

5.     Absent a court order to the contrary, PSU does not want to release John C. Glennon’s

       student records as required by the aforementioned subpeona because Glennon has

       objected to such release and PSU does not want to run the risk of violating FERPA.
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          Based on the above stated, PSU respectfully requests the March 24, 2004 subpoena issued

by the Plaintiff to PSU for the production of the student records of John C. Glennon be quashed.


                                                                       Respectfully submitted,
                                                                       S\Darron C. Farha
                                                                       Darron C. Farha #20246
                                                                       1701 S. Broadway, Room 218 Russ Hall
                                                                       Pittsburg, KS 66762
                                                                       (620) 235-4136

                                          Certificate of Service
        I certify that on the 5st day of April, 2004, I electronically filed a Motion to Quash with
the clerk of the court by emailing the Motion, in PDF format, to
ksd_clerks_kansascity@ksd.us.courts.gov. I further certify that I mailed the foregoing and the
Motion to:

          •    John C. Glennon, 6917 W 76th St., Overland Park, KS 66204;
          •    Paul D. Williams, Esq., Day, Berry & Howard, City Place 1, Hartford, CT 06103
          •    Leo Gilberg, Esq., Office of Leo Gilberg, 305 Broadway, New York, NY 10007
          •    Jeffery C. Pingpank, Esq., Cooney, Scully, and Dowling, Hartford Square North, 10
               Columbus Blvd., Hartford, CT 06106.


                                                                                 S\Darron C. Farha




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